Case 1:17-cv-23177-KMW Document 35 Entered on FLSD Docket 10/04/2018 Page 1 of 1



                          UNITED STATES DISTRICT CO URT
                          SO UTHERN DISTRICT OF FLORIDA
                           Case No.17-23177-ClV-W lLLIAM S

  MAURICE SYM ONETTE,

         Plaintiff,

  VS.

  DR.SM ITH JOSEPH,etaI.,

         Defendants.
                            /

                                O RDER TO SHOW CAUSE
         THIS MATTER is before the Court on a sua sponte review of the record On    .



  Septem ber 17,2018,Defendant John Q uirino filed a m otion to dism iss the am ended

 complaint.(DE 31).Pursuantto the FederalRules ofCivilProcedure, Plaintiff'sresponse
 wasdue October1,2018.To date,Plaintiffhas notfiled a response Accordingl
                                                                   .    y,Plaintiff
  is ORDERED to SHOW CA USE by O ctober 19,2018 as to why Defendant Quirino's

 m otion to dism iss should notbe granted orthe case dism issed forfailure to prosecute .



         DO NE A ND O RDERED in cham bers in M iam i, Florida,this          y ofO ctober,
 2018.


                                                KATHLEE M .W ILLIAMS
                                                UNITED ATES DISTRICT JUDG E


 CC: M aurice Sym onette
     1977 NE 119th Road
     Nodh M iam i,FL 33181
